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LOGGED RECEIVED

IN THE UNITED STATES DISTRICT COURT NOV 22 2021
FOR THE DISTRICT OF MARYLAND AT GREENBELT

 

Gregory St Clair

 

 

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

-against-

Navy Federal Credit Union

 

 

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

CLERK, U.S. DISTRICT COURT
YYLAND

ay DISTRICT OF MAR
DEPUT\

Complaint for a Civil Case

Case No. -GJH ClLuvey 9s

(to be filled in by the Clerk’s Office)

 

Jury Trial: CL] Yes UO No
(check one)
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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Gregory St Clair

 

2104 Waterleaf Way

 

Bowie Prince Georges

 

MD 20721

 

2404752239

 

socialtaxx @ gmail.com

 

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Navy Federal Credit Union

 

 

820 Follin LN SE

 

Vienna

 

VA 22180

 

1-888-842-6328

 

 
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Defendant No. 2

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

 

Telephone Number
E-mail Address

 

(if known)

Defendant No. 3

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

Defendant No. 4

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

(If there are more than four defendants, attach an additional page
providing the same information for each additional defendant. )
II.

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

L) Federal question LC) Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

 

 

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , iS acitizen of
the State of (name)

 

b. If the plaintiff is a corporation

The plaintiff, (name) , 1S incorporated
under the laws of the State of (name)
and has its principal place of business in the State of (name)

 

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff: )

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2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) , iS acitizen of
the State of (name) . Oris acitizen of

 

(foreign nation)

 

b. If the defendant is a corporation

The defendant, (name) , 1S
incorporated under the laws of the State of (name)

, and has its principal place of

business in the State of (name) . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of
business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

$54,266 Navy Federal broke several federal laws in our course of doing business

 

 
If.

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Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff’s rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

 

 

| recieved a Navy Federal Credit card around May 2019. Navy Fed failed
to give me full disclosure of the finance charge, full dislcousre to
my right of reccission. Full dislcosure that the banks can't lend money

 

 

 

see fractional banking. Navy never told me that all bills are already

 

paid for pursuant to 18 USC 8 and Navy failed to explain in a clear

 

manner that the United States is obligated to pay any bills. Navy also failed

 

to state that from there own TRUST INDENTURE it states that | am

 

the original creditor. They also don't have any signature of mine on

 

any document of there's that proves this is my alleged debt. They also

 

have harrased me by calling me all types of times day and night and

 

have also caused me exterme stress and anxiety due to the fact that

 

they closed the card and is reporting negative information to the

 

Credit Reproting Agency's casuing me not to be able to obtain or get

 

credit when credit is defined as the right granted

 

 

 

 

 

 

 

 

 

 

 

 
IV.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

$54266, an open ended credit plan that allows my card to be zeroed

 

out each month and any negative items reproting on my consumer

 

report to be deleted immedaitely

 

 

 
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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: , 20__

Signature of Plaintiff
Printed Name of Plaintiff Gregory St Clair

 

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff. )

B. For Attorneys

Date of signing: ,20 |

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

Telephone Number
Email Address

 

 

 

 
